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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


    FRANCINA SMITH, individually and on            )
    behalf of all others similarly situated,       )
                                                   )
                                 Plaintiff,        )
                                                   )     1:16-cv-01897-RLY-DLP
                         vs.                       )
                                                   )
    GC SERVICES LIMITED                            )
    PARTNERSHIP, a Delaware limited                )
    partnership, and                               )
    GC GP BUYER, LLC, a Delaware limited           )
    liability company,                             )
                                                   )
                                 Defendants.       )
                                                   )

                                    FINAL JUDGMENT
         Today, the court found Plaintiff Francina Smith, as class representative, lacks

  standing to bring the present lawsuit. Accordingly, the court issues final judgment in

  favor of the Defendants and against the Plaintiff.

  SO ORDERED this 2nd day of December 2019.



                                                   _________________________________
                                                   RICHARD L. YOUNG, CHIEF JUDGE
                                                   United States District Court
                                                   Southern District of Indiana
  Laura Briggs, Clerk
  United States District Court


  ______________________
  By: Deputy Clerk

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